Case 1:21-cr-00091-RCL Document 85 Filed 10/24/22 Page 1of1

NON-NEGOTIABLE NOTICE OF ACCEPTANCE

Notice Date: Day: Twelve Month: Ten Year: 2022 CE

Angela D. Caesar, Clerk of Court Ic CO DY

United States District Court + +

District of Columbia Lint thie bi ftv.
333 Constitution Avenue N.W. ae Lew ifTR
Washington, D.C. 20001

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In reply to: “Case 1:21-cr-00091-RCL Document 80 Filed 09/22/22 Page | of 3 UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA No.: 21 CR 91 NOTICE OF APPEARANCE AND SUBSITUTION OF COUNSEL Respectfully
submitted, MATTHEW M. GRAVES United States Attorney D.C. Bar No. 481052 By: /s/ Kaitlin Klamann Assistant United States
Attorney 601 D Street NW Washington, D.C. 20001 IL Bar No. 6316768, Page 2 of 3 CERTIFICATE OF SERVICE By: /s/ Kaitlin
Klamann Assistant United States Attoracy 601 D Street NW Washington, D.C. 20001 IL Bar No. 6316768, Page 3 of 3”

 

PLEASE TAKE NOTICE that I, Taylor James Johnatakis, a sentient moral being accept your Presentment
“Case 1:21-cr-00091-RCL Document 80 Filed 09/22/22 Page 1 of 3 UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA No.: 21 CR 91 NOTICE OF APPEARANCE AND
SUBSITUTION OF COUNSEL Respectfully submitted, MATTHEW M. GRAVES United States Attorney
D.C. Bar No. 481052 By: /s/ Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington,
D.C. 20001 IL Bar No. 6316768, Page 2 of 3 CERTIFICATE OF SERVICE By: /s/ Kaitlin Klamann
Assistant United States Attorney 601 D Street NW Washington, D.C. 20001 IL Bar No. 6316768, Page 3 of
3” and return your offer herein attached to you. I indicate my acceptance of your offer by my signature and
date.

e Ido not argue the facts, jurisdiction, law, or venue;

Sincerely,

dopo omen fpheate

Taylor James Johnatakis
c/o 29628 Gamble Place NE
Kingston, Washington

Attachment: “Case 1:21-cr-00091-RCL Document 80 Filed 09/22/22 Page 1 of 3 UNITED STATES DISTRICT COURT FOR THE
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ce; Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001
cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530
ce: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

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